           Case 3:16-cv-02787-WHO Document 305 Filed 06/12/18 Page 1 of 5



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 8

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     Huawei Device USA, Inc., Huawei Technologies
10   USA, Inc., and HiSilicon Technologies Co. Ltd.

11
                                UNITED STATES DISTRICT COURT
12                            NORTHERN DISTRICT OF CALIFORNIA
                                   SAN FRANCISCO DIVISION
13
      HUAWEI TECHNOLOGIES CO., LTD.,                  Case No. 16-cv-02787-WHO
14    HUAWEI DEVICE USA, INC., and
      HUAWEI TECHNOLOGIES USA, INC.,
15                                                    DECLARATION OF XIAOWU ZHANG
             Plaintiffs / Counterclaim-Defendants,    IN SUPPORT OF SAMSUNG’S
16    v.                                              ADMINISTRATIVE MOTION TO FILE
                                                      UNDER SEAL PORTIONS OF
17    SAMSUNG ELECTRONICS CO., LTD.,                  SAMSUNG’S MOTION FOR
      SAMSUNG ELECTRONICS AMERICA,                    JUDGMENT ON THE PLEADINGS
18    INC.,                                           REGARDING HUAWEI’S CAUSE OF
                                                      ACTION FOR DECLARATORY
19           Defendants / Counterclaim-Plaintiffs,    JUDGMENT OF FRAND TERMS AND
                                                      CONDITIONS FOR A CROSS-LICENSE
20                  and

21    SAMSUNG RESEARCH AMERICA,

22           Defendant,
      v.
23
      HISILICON TECHNOLOGIES CO., LTD.,
24
                    Counterclaim-Defendant.
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26

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28


                ZHANG DECLARATION ISO SAMSUNG’S ADMINISTRATIVE MOTION TO FILE UNDER SEAL
                                        CASE 16-CV-02787-WHO
      Case 3:16-cv-02787-WHO Document 305 Filed 06/12/18 Page 2 of 5



 1      I, Xiaowu Zhang, declare as follows:

 2      1.      I am a citizen of the People’s Republic of China over 18 years of age. I submit this

 3   declaration on behalf of Plaintiffs and Counterclaim-Defendants Huawei Technologies Co., Ltd.,

 4   Huawei Device USA, Inc., and Huawei Technologies USA, Inc., and Counterclaim-Defendant

 5   HiSilicon Technologies Co., Ltd. (collectively, “Huawei”). I have personal knowledge of the

 6   facts set forth in this declaration, and, if called upon as a witness, I could and would testify to

 7   such facts under oath.

 8      2.      I am employed by Huawei as Deputy Director of Huawei’s IP Litigation Department.

 9   In my capacity as Deputy Director, I have been involved on behalf of Huawei in patent license

10   negotiations with current and prospective licensees, including Defendants Samsung Electronics

11   Co., Ltd., Samsung Electronics America, Inc., and Samsung Research America (collectively,

12   “Samsung”).

13      3.      Pursuant to Civil L.R. 79-5(d)(1)(A), I submit this declaration in support of

14   Samsung’s Administrative Motion to File Under Seal Portions of Samsung’s Motion for

15   Judgment on the Pleadings Regarding Huawei’s Cause of Action For Declaratory Judgment of

16   FRAND Terms and Conditions for a Cross-License (Dkt. 303) (“Motion for Judgment on the

17   Pleadings”).

18      4.      I have reviewed the following portions of Samsung’s Motion for Judgment on the

19   Pleadings (and exhibits thereto) that contain or suggest information that Samsung had identified

20   as confidential to Huawei:

21                  Document                              Portions to be Filed Under Seal

22    Samsung Motion for Judgment on         Yellow highlighted portions on the lines:
      the Pleadings Regarding Huawei’s       2:20-21
23    Cause of Action for Declaratory
      Judgment of FRAND Terms and            3:15 – 4:1
24    Conditions for a Cross-License         4:2-3
25                                           4:n.5
                                             4:n.6
26
                                             5:n.13
27                                           7:19-22
28
                                                    2
              ZHANG DECLARATION ISO SAMSUNG’S ADMINISTRATIVE MOTION TO FILE UNDER SEAL
                                      CASE 16-CV-02787-WHO
     Case 3:16-cv-02787-WHO Document 305 Filed 06/12/18 Page 3 of 5


                                             9:15-20
 1
                                             10:2-3
 2                                           10:3-8
 3                                           13:21
                                             13:22-23
 4
                                             13:24 – 14:1
 5
      Exhibit 1                              Entire document
 6
      Exhibit 3                              Entire document
 7
      Exhibit 4                              Entire document
 8
      Exhibit 6                              Entire document
 9
      Exhibit 12                             Entire document
10

11

12      5.        With the exception of the proposed redactions to page 5 and 7, the indicated portions

13   of Samsung’s Motion for Judgment on the Pleadings, and the excerpts of the depositions of

14   Xuxin Cheng, Liuping Song, and Jason Ding attached as Exhibits 1, 3, 4, and 6 thereto, contain

15   information about license negotiations between Huawei and Samsung, which were conducted

16   pursuant to a non-disclosure agreement. Huawei considers this information highly confidential

17   and does not disclose it to the public. (I understand that Samsung has maintained the same

18   position.) Disclosure of this information to the public would harm Huawei’s competitive

19   standing by giving competitors insight into Huawei’s past licensing positions and practices,

20   which could be used to Huawei’s disadvantage. For example, competitors and/or potential

21   licensing partners could gain unfair insight and leverage in licensing discussions that Huawei

22   would lack, thereby creating an asymmetry of information and bargaining power that would

23   otherwise not exist but for the disclosure of the above confidential information. This would

24   create a serious risk of competitive injury to Huawei. Further, Huawei has a strong business

25   interest in maintaining the confidentiality of the above licensing-related information. Within

26   Huawei, access to such confidential information is restricted. Not everyone in Huawei’s IP

27   Department has access to such information, not to mention the other employees in other

28   departments. The employees of Huawei’s IP Department that have access to the information
                                              3
             ZHANG DECLARATION ISO SAMSUNG’S ADMINISTRATIVE MOTION TO FILE UNDER SEAL
                                     CASE 16-CV-02787-WHO
      Case 3:16-cv-02787-WHO Document 305 Filed 06/12/18 Page 4 of 5



 1   understand the sensitive nature of such information, and understand their duty to not disclose the

 2   information outside of Huawei without legal protections against dissemination. Redaction of the

 3   information is necessary to avoid placing Huawei at a significant business disadvantage vis-à-vis

 4   its competitor sand potential licensing partners.

 5      6.      The proposed redaction to page 5, footnote 13, reflects confidential information about

 6   Huawei’s license agreements with third parties generally, and particularly the terms of Huawei’s

 7   agreement with Apple, which, by its terms, is confidential to both Huawei and Apple. Apart

 8   from the contractual restrictions applicable to information concerning Huawei’s license

 9   agreement with Apple under which Huawei is contractually obligated to maintain its terms in

10   confidence absent Apple’s consent, Huawei considers this information highly confidential and

11   does not disclose it to the public. Disclosure of this information to the public would harm

12   Huawei’s competitive standing by giving competitors insight into Huawei’s past licensing

13   positions and practices, which could be used to Huawei’s disadvantage. For example,

14   competitors and/or potential licensing partners could gain unfair insight and leverage in licensing

15   discussions that Huawei would lack, thereby creating an asymmetry of information and

16   bargaining power that would otherwise not exist but for the disclosure of the above confidential

17   information. This would create a serious risk of competitive injury to Huawei. Further, Huawei

18   has a strong business interest in maintaining the confidentiality of the above licensing-related

19   information. Within Huawei, access to such confidential information is restricted. Not everyone

20   in Huawei’s IP Department has access to such information, not to mention the other employees

21   in other departments. The employees of Huawei’s IP Department that have access to the

22   information understand the sensitive nature of such information, and understand their duty to not

23   disclose the information outside of Huawei without legal protections against dissemination.

24   Redaction of the information is necessary to avoid placing Huawei at a significant business

25   disadvantage vis-à-vis its competitors and potential licensing partners.

26      7.      The proposed redaction on page 7, lines 9-12, and Exhibit 12, refer to and set forth

27   certain content of the Expert Report of Michael J. Lasinski, which I understand to have been

28   designated as Highly Confidential pursuant to the Protective Order based in part on the fact that
                                                 4
              ZHANG DECLARATION ISO SAMSUNG’S ADMINISTRATIVE MOTION TO FILE UNDER SEAL
                                      CASE 16-CV-02787-WHO
         Case 3:16-cv-02787-WHO Document 305 Filed 06/12/18 Page 5 of 5



 1      Mr. Lasinski’s analysis relies on and reflects information concerning Huawei’s license

 2      agreement with Nokia, the terms of which are confidential. Disclosure of the content of the

 3      Nokia agreement reflected in Exhibit 12 would require Nokia’s consent. Moreover, Exhibit 12

 4      reveals information about Mr. Lasinski’s ultimate conclusions that have not been publicly

 5      disclosed. Huawei (and, I understand, Samsung) considers this information to be highly

 6      confidential and does not disclose it to the public. At least at this stage of the litigation,

 7      disclosure of this information to the public would harm Huawei’s competitive standing by giving

 8      competitors insight into Huawei’s licensing positions and practices. Huawei does not have

 9      access to similar information about its competitors, which could result in an information

10      asymmetry in future licensing negotiations, placing Huawei at a disadvantage.

11

12          I declare under penalty of perjury under the laws of the United States of America that the

13   foregoing is true and correct to the best of my knowledge.

14

15          Executed electronically on June 12, 2018 in Dallas, Texas.
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                                                                    _____________________
20                                                                  Xiaowu Zhang
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                 ZHANG DECLARATION ISO SAMSUNG’S ADMINISTRATIVE MOTION TO FILE UNDER SEAL
                                         CASE 16-CV-02787-WHO
